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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


CAROLYN BALDWIN,                                              )
                                                              )
                              Plaintiff,                      )
                                                              )     CIVIL ACTION
vs.                                                           )
                                                              )     Case No. 1:25-CV-00408
LAST LESSON LEARNED, LLC,                                     )
                                                              )
                              Defendant.                      )


                                            COMPLAINT

       COMES NOW, CAROLYN BALDWIN, by and through the undersigned counsel, and

files this, her Complaint against Defendant, LAST LESSON LEARNED, LLC, pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).              In support thereof, Plaintiff

respectfully shows this Court as follows:

                                           JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

LAST LESSON LEARNED, LLC, failure to remove physical barriers to access and violations of

Title III of the ADA.

                                             PARTIES

       2.      Plaintiff CAROLYN BALDWIN (hereinafter “Plaintiff”) is and has been at all

times relevant to the instant matter, a natural person residing in Littleton, CO (Douglas County).

       3.      Plaintiff is disabled as defined by the ADA.




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       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. Her

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

       7.      Defendant, LAST LESSON LEARNED, LLC, (hereinafter “LAST LESSON

LEARNED, LLC”) is a domestic limited liability corporation that transacts business in the State

of Colorado and within this judicial district.

       8.      Defendant, LAST LESSON LEARNED, LLC, may be properly served with

process via its Registered Agent for service, to wit: c/o Steven Eugene Cook., Registered Agent,

2700 South Broadway, Suite 300, Englewood, CO 80113.

                                  FACTUAL ALLEGATIONS

       9.      On or about December 26 2024, Plaintiff was a customer at “Taste of Thailand,” a

restaurant located at 2120 S. Broadway, Denver, CO 80210, referenced herein as “Taste of



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Thailand”. See Receipt attached as Exhibit 1. See also photo of Plaintiff attached as Exhibit 2.

       10.      Defendant, LAST LESSON LEARNED, LLC, is the owner or co-owner of the

real property and improvements that Taste of Thailand is situated upon and that is the subject of

this action, referenced herein as the “Property.”

       11.      Defendant, LAST LESSON LEARNED, LLC, is responsible for complying with

the ADA for both the exterior portions and interior portions of the Property. Even if there is a

lease between Defendant, LAST LESSON LEARNED, LLC, and a tenant allocating

responsibilities for ADA compliance within the unit the tenant operates, that lease is only

between the property owner and the tenant and does not abrogate the Defendant’s requirement to

comply with the ADA for the entire Property it owns, including the interior portions of the

Property which are public accommodations. See 28 CFR § 36.201(b).

       12.      Plaintiff’s access to Taste of Thailand and the other businesses, located at 2120 S.

Broadway, Denver, CO 80210, Denver County Property Appraiser’s property identification

number:      0527212027000 (“the Property”), and/or full and equal enjoyment of the goods,

services, foods, drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of her disabilities, and she will be denied and/or limited in

the future unless and until Defendant is compelled to remove the physical barriers to access and

correct the ADA violations that exist at the Property, including those set forth in this Complaint.

       13.      Plaintiff lives 15 miles from the Property.

       14.      Given the close vicinity of the Property to the Plaintiff’s residence, Plaintiff often

travels by the Property.




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       15.     Plaintiff has visited the Property once before as a customer and advocate for the

disabled. Plaintiff intends to revisit the Property within six months after the barriers to access

detailed in this Complaint are removed and the Property is accessible again. The purpose of the

revisit is to be a return customer to Taste of Thailand, to determine if and when the Property is

made accessible and to substantiate already existing standing for this lawsuit for Advocacy

Purposes.

       16.     Plaintiff intends on revisiting the Property to purchase food and/or services as a

return customer as well as for Advocacy Purposes but does not intend to re-expose herself to the

ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

known to Plaintiff to have numerous and continuing barriers to access.

       17.     Plaintiff travelled to the Property as a customer once before as a customer,

personally encountered many barriers to access the Property that are detailed in this Complaint,

engaged many barriers, suffered legal harm and legal injury, and will continue to suffer such

harm and injury if all the illegal barriers to access present at the Property identified in this

Complaint are not removed.

       18.     Although Plaintiff may not have personally encountered each and every barrier to

access identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior

to filing the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the Complaint in a subsequent visit as,

for example, one accessible parking space may not be available and she would need to use an

alternative accessible parking space in the future on her subsequent visit. As such, all barriers to



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access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.

       19.     Plaintiff’s inability to fully access the Property and the stores in a safe manner and

in a manner which inhibits the free and equal enjoyment of the goods and services offered at the

Property, both now and into the foreseeable future, constitutes an injury in fact as recognized by

Congress and is historically viewed by Federal Courts as an injury in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       20.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       21.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is


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               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       22.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       23.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       25.     The Property is a public accommodation and service establishment.

       26.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       27.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).



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       28.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       29.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

her capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of her disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit her

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       30.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of her disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit her access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       31.     Defendant, LAST LESSON LEARNED, LLC, has discriminated against Plaintiff

(and others with disabilities) by denying her access to, and full and equal enjoyment of the

goods, services, facilities, privileges, advantages and/or accommodations of the Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       32.     Defendant, LAST LESSON LEARNED, LLC, will continue to discriminate

against Plaintiff and others with disabilities unless and until Defendant, LAST LESSON



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LEARNED, LLC, is compelled to remove all physical barriers that exist at the Property,

including those specifically set forth herein, and make the Property accessible to and usable by

Plaintiff and other persons with disabilities.

       33.       A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

               i.   In front of Taste of Thailand, the accessible parking space is missing an

                    identification sign in violation of Section 502.6 of the 2010 ADAAG

                    standards. This barrier to access would make it difficult for Plaintiff to locate

                    an accessible parking space.

             ii.    In front of Taste of Thailand, the accessible parking space is not level due to

                    the presence of accessible ramp side flares in the accessible parking space in

                    violation of Sections 502.4 and 406.5 of the 2010 ADAAG standards. This

                    barrier to access would make it dangerous and difficult for Plaintiff to exit and

                    enter their vehicle while parked at the Property as the van may rest upon the

                    ramp and create an unlevel surface for Plaintiff to exit and enter their vehicle.

             iii.   In front of Taste of Thailand, the access aisle to the accessible parking space

                    is not level due to the presence of an accessible ramp in the access aisle in

                    violation of Section 502.4 of the 2010 ADAAG standards. This barrier to

                    access would make it dangerous and difficult for Plaintiff to exit and enter




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                their vehicle while parked at the Property as the lift from the van may rest

                upon the ramp and create an unlevel surface.

          iv.   In front of Taste of Thailand, the accessible curb ramp is improperly

                protruding into the access aisle of the accessible parking space in violation of

                Section 406.5 of the 2010 ADAAG Standards. This barrier to access would

                make it dangerous and difficult for Plaintiff to exit and enter their vehicle

                while parked at the Property as the lift from the van may rest upon the ramp

                and create an unlevel surface.

          v.    In front of Taste of Thailand, the accessible ramp side flares have a slope in

                excess of 1:10 in violation of Section 406.3 of the 2010 ADAAG standards.

                This barrier to access would make it dangerous and difficult for Plaintiff to

                access the units of the Property because steep slopes on ramp side flares could

                cause the wheelchair to tip over and injure Plaintiff.

          vi.   In front of Taste of Thailand, the Property has an accessible ramp leading

                from the accessible parking space to the accessible entrances with a slope

                exceeding 1:12 in violation of Section 405.2 of the 2010 ADAAG standards.

                This barrier to access would make it dangerous and difficult for Plaintiff to

                access the units of the Property because when ramps are too steep (more than

                1:12) it requires too much physical arm strain to wheel up the ramp and

                increases the likelihood of the wheelchair falling backwards and Plaintiff

                being injured.

         vii.   Between the Vapor CRE and the H&R Block The walking surfaces of the

                accessible route have a slope in excess of 1:20 in violation of Section 403.3 of



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                 the 2010 ADAAG standards. This barrier to access would make it dangerous

                 and difficult for Plaintiff to access the units of the Property. As the accessible

                 route is in excess of 1:20, it is considered an accessible ramp, moreover, it has

                 a total rise greater than six (6) inches yet does not have handrails in

                 compliance with Section 505 of the 2010 ADAAG standards, this is a

                 violation of Section 405.8 of the 2010 ADAAG Standards. This barrier to

                 access would make it difficult for Plaintiff to access the units of the Property

                 as ramps are often more difficult for disabled individuals to traverse and

                 require handrails on both sides so that the disabled individual can use the

                 handrail to assist them up the sloped surface.

         viii.   As a result of the barrier to access referenced in vii, the Property lacks a single

                 continuous accessible route connecting accessible facilities, accessible

                 elements and/or accessible spaces of the Property in violation of Section

                 206.2.2 of the 2010 ADAAG standards. This barrier to access would make it

                 difficult for Plaintiff to access public features of the Property if parked in one

                 Section of the Property which is disconnected from another due to this barrier.

          ix.    The Property lacks an accessible route from the sidewalk to the accessible

                 entrance in violation of Section 206.2.1 of the 2010 ADAAG standards. This

                 barrier to access would make it difficult for Plaintiff to utilize public

                 transportation to access the public accommodations located on the Property.

           x.    The total number of accessible parking spaces is inadequate and is in violation

                 of Section 208.2 of the 2010 ADAAG standards. There are 44 total parking

                 spaces at the Property, which requires a minimum of two accessible parking



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                 spaces, but there is only one accessible parking space. This barrier to access

                 would make it difficult for Plaintiff to locate an available accessible parking

                 space as such a small number of accessible parking spaces in a large parking

                 lot increases the likelihood of there not being an available accessible parking

                 space.

          xi.    Due to a policy of not having parking stops for the parking spaces directly in

                 front of the exterior access route, combined with the placement of potted

                 plants, cars routinely pull up all the way to the curb and the "nose" of the

                 vehicle extends into the access route causing the exterior access route to

                 routinely have clear widths below the minimum thirty-six (36") inch

                 requirement specified by Section 403.5.1 of the 2010 ADAAG Standards.

                 This barrier to access would make it dangerous and difficult for Plaintiff to

                 access exterior public features of the Property as there is not enough clear

                 width for Plaintiff’s wheelchair.

          xii.   Due to a policy of not having parking stops for the parking spaces directly in

                 front of the exterior access route, combined with the placement of potted

                 plants, cars routinely pull up all the way to the curb and the "nose" of the

                 vehicle extends into the access route as a result, in violation of Section 502.7

                 of the 2010 ADAAG Standards, parking spaces are not properly designed so

                 that parked cars and vans cannot obstruct the required clear width of adjacent

                 accessible routes. This barrier to access would make it dangerous and difficult

                 for Plaintiff to access exterior public features of the Property as there is not

                 enough clear width for Plaintiff’s wheelchair.



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             xiii.     Inside Taste of Thailand, the interior has walking surfaces leading to the

                       restroom lacking a 36 (thirty-six) inch clear width, due to a policy of placing

                       boxes and other items in the accessible route, in violation of Section 403.5.1

                       of the 2010 ADAAG standards. This barrier to access would make it difficult

                       for Plaintiff to properly utilize public features at the Property because the

                       width of Plaintiff’s wheelchair would prevent passage through areas with a

                       width less than 36 inches.

             xiv.      Inside Taste of Thailand, the interior has walking surfaces leading to the

                       restroom lacking a 36 (thirty-six) inch clear width, due to a policy of placing

                       boxes and other items in the accessible route. As a result, the Property lacks

                       an accessible route connecting the exterior of the Property to all accessible

                       elements and features inside the Property in violation of Section 206.2.4 of the

                       2010 ADAAG standards. This barrier to access would make it difficult for

                       Plaintiff to access public features of the Property due to the lack of a safe

                       accessible route leading from the exterior to interior spaces inside the

                       Property.

              xv.      Defendant fails to adhere to a policy, practice and procedure to ensure that all

                       facilities are readily accessible to and usable by disabled individuals.

       34.          The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       35.          Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.




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       36.       The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       37.       All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

       38.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       39.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, LAST

LESSON LEARNED, LLC, has the financial resources to make the necessary.

       40.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, LAST

LESSON LEARNED, LLC, has the financial resources to make the necessary modifications.

According to the Property Appraiser, the Appraised value of the Property is $2,963,000.00.

       41.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

modifications.

       42.       Upon information and good faith belief, the Property has been altered since 2010.

       43.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.



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          44.   Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that she will continue to suffer irreparable harm unless and until

Defendant, LAST LESSON LEARNED, LLC, is required to remove the physical barriers,

dangerous conditions and ADA violations that exist at the Property, including those alleged

herein.

          45.   Plaintiff’s requested relief serves the public interest.

          46.   The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, LAST LESSON LEARNED, LLC.

          47.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, LAST LESSON LEARNED, LLC, pursuant to 42 U.S.C. §§ 12188

and 12205.

          48.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, LAST

LESSON LEARNED, LLC, to modify the Property to the extent required by the ADA.

          WHEREFORE, Plaintiff prays as follows:

          (a)   That the Court find Defendant LAST LESSON LEARNED, LLC, in violation of

                the ADA and ADAAG;

          (b)   That the Court issue a permanent injunction enjoining Defendant, LAST

                LESSON LEARNED, LLC, from continuing their discriminatory practices;

          (c)   That the Court issue an Order requiring Defendant, LAST LESSON LEARNED,

                LLC, to (i) remove the physical barriers to access and (ii) alter the subject

                Property to make it readily accessible to and useable by individuals with

                disabilities to the extent required by the ADA;



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      (d)    That the Court award Plaintiff her reasonable attorneys' fees, litigation expenses

             and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable in light of the

             circumstances.

      Dated: February 6, 2025.             Respectfully submitted,

                                           Law Offices of
                                           THE SCHAPIRO LAW GROUP, P.L.

                                           /s/ Douglas S. Schapiro
                                           Douglas S. Schapiro, Esq.
                                           State Bar No. 54538FL
                                           The Schapiro Law Group, P.L.
                                           7301-A W. Palmetto Park Rd., #100A
                                           Boca Raton, FL 33433
                                           Tel: (561) 807-7388
                                           Email: schapiro@schapirolawgroup.com

                                           ATTORNEYS FOR PLAINTIFF




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